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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11


    WOODBRIDGE GROUP OF COMPANIES, LLC, et                          Case No. 17-12560 (BLS)
    al.,1

                                                                    (Jointly Administered)
                            Remaining Debtors.


    MICHAEL GOLDBERG, as Liquidating Trustee of                     Adv. Proc Case Nos. (SEE EXHIBIT I)
    the Woodbridge Liquidation Trust, successor in
    interest to the estate of Woodbridge Group of
    Companies, LLC, et al.,


                                     Plaintiff,


    v.


    (SEE EXHIBIT I ATTACHED HERETO),


                                     Defendant.




                                AMENDED AFFIDAVIT OF SERVICE

STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )

I, ALISON MOODIE, being duly sworn, deposes and says:




1
         The Remaining Debtors and the last four digits of their respective federal tax identification number are as
follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC
(0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks,
California 91423.
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1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC2, located at
   777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
   not a party to the above-captioned action.

2. On September 4, 2020, I caused to be served the “Scheduling Order,” hereto attached as
   Exhibit II, by causing true and correct copies to be:

        i.    enclosed securely in separate postage pre-paid envelopes and delivered via first class
              mail to those parties listed on the annexed Exhibit A, and

       ii.    delivered via electronic mail to those parties listed on the annexed Exhibit B.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                              /s/ Alison Moodie
                                                                              Alison Moodie
    Sworn to before me this
    5th day of October, 2020
    /s/ Diane M. Streany
    Notary Public, State of New York
    No. 01ST5003825
    Qualified in Westchester County
    Commission Expires November 2, 2022




2
          Epiq Class Action & Claims Solutions, Inc. acquired Garden City Group, LLC on June 15, 2018.
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   Defendant(s)                                                   Adv. Proc. Case No.
   STEFAN KOLOSENKO                                                    19-50301
   MARY M. NOYES; GALE E. NOYES                                        19-50312
   DELTON CHRISTMAN; JEAN CHRISTMAN                                    19-50314
   FLOYD G. DAVIS; LAVONNE J. DAVIS                                    19-50317
   TOOMAS HEINMETS; PAMELA HEINMETS                                    19-50322
   DENNIS W. HUETH                                                     19-50331
   CHRISTIAN LESTER                                                    19-50332
   JOSEPH LIN                                                          19-50334
   LAURENCE J. NAKASONE                                                19-50337
   JEFF SCHUSTER                                                       19-50341
   ANITA BEDOYA AND MARK BEDOYA                                        19-50343
   ANITA BEDOYA; JULIAN DURAN                                          19-50344
   RONALD COLE                                                         19-50346
   NANNETTE TIBBITTS                                                   19-50353
   IRA SERVICES TRUST COMPANY, CUSTODIAN FOR THE                       19-50581
   BENEFIT OF DWIGHT L. ATHERTON IRA; DWIGHT L.
   ATHERTON
   TERRY B. GRIFFIN, IN HIS CAPACITY AS TRUSTEE OF                     19-50744
   THE GRIFFIN FAMILY TRUST; TERRY B. GRIFFIN
   CHRIST TEMPLE BAPTIST CHURCH                                        19-50756
   IRA SERVICES TRUST COMPANY, CUSTODIAN FOR THE                       19-50808
   BENEFIT OF LYNETTE EDDY IRA; LYNETTE EDDY
   IRA SERVICES TRUST COMPANY, CUSTODIAN FOR THE                       19-50814
   BENEFIT OF EARL EDDY IRA; EARL EDDY
   RONDA ROGOVIN                                                       19-50852
   MGM RESORTS INTERNATIONAL d/b/a Mandalay Bay Resort                 19-50853
   MARY J. HAPPERSETT, IN HER CAPACITY AS TRUSTEE                      19-50870
   OF THE MARY J HAPPERSETT REVOCABLE LIVING
   TRUST AGREEMENT DATED 07/15/98; MARY J.
   HAPPERSETT
   IRA SERVICES TRUST COMPANY, CUSTODIAN FOR THE                       19-50910
   BENEFIT OF HAROLD L. LUSTIG IRA; HAROLD L. LUSTIG
   ALL MARK INSURANCE SERVICES, INC.; CAMERON                          19-50921
   JOHNSON
   CHRIS DANTIN FINANCIAL SERVICES, LLC; CHRIS A                       19-50922
   DANTIN SR
   MATTHEW GILCHRIST                                                   19-50997
   DAVID VALENCIA; VALENCIA FINANCIAL SERVICES,                        19-51000
   LLC
   BETTE TYDINGS                                                       19-51002


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   RETIREMENT PLANNING SOLUTIONS, LLC; GORDON                              19-51004
   HANNAH
   GAULAN FINANCIAL LLC                                                    19-51012
   YANITSHA M FELICIANO                                                    19-51015
   LEGACY FINANCIAL NETWORK AND RETIREMENT                                 19-51016
   SERVICES, INC. AND JEFFREY NIMMOW
   ROBERT BISCARDI, JR.                                                    19-51048
   ARASH TASHVIGHI                                                         19-51049
   TO THE MAX MARKETING, INC.                                              19-51066
   THOMAS FURMAN                                                           19-50299
   ALEXANDER S. ADUNA; EMMA R. ADUNA                                       19-50307
   SYLVAN R. JUTTE; JEANNETTE E. JUTTE                                     19-50308
   BRIAN D. KORKUS; ROBIN L KORKUS                                         19-50309
   DARRELL SANDISON; MATTIE SANDISON                                       19-50313
   GEORGE T. IWAHIRO; CHARLENE M. IWAHIRO                                  19-50319
   RICHARD E. ATTIG; STEPHANIE L. ATTIG                                    19-50325
   JASON CURTIS                                                            19-50327
   JANET V. DUES                                                           19-50328
   DENA FALKENSTEIN                                                        19-50329
   JUDY KAREN GOODIN                                                       19-50330
   JANE MARSHALL                                                           19-50335
   BLAINE PHILLIPS                                                         19-50338
   GEORGE EDWARD SARGENT                                                   19-50340
   JENNIFER TOM                                                            19-50342
   RONALD DRAPER                                                           19-50347
   STEPHEN B. MOORE                                                        19-50350
   LAWRENCE J. PAYNTER                                                     19-50351
   MAINSTAR TRUST, CUSTODIAN FOR THE BENEFIT OF                            19-50559
   MARIE PODKOWINSKI; MARIE PODKOWINSKI
   MAINSTAR TRUST, CUSTODIAN FOR THE BENEFIT OF                            19-50567
   LORIE GORMAN; LORIE GORMAN
   IRA SERVICES TRUST COMPANY ‐ CUSTODIAN FOR THE                          19-50576
   BENEFIT OF JAMES C. CHANG IRA; JAMES C. CHANG
   MAINSTAR TRUST, CUSTODIAN FOR THE BENEFIT OF                            19-50578
   JOHN KOBIERECKI; JOHN KOBIERECKI
   PROVIDENT TRUST GROUP, LLC, CUSTODIAN FOR THE                           19-50586
   BENEFIT OF LARRY A. NORTON IRA; LARRY A. NORTON

   PAUL F. HAPPERSETT, IN HIS CAPACITY AS TRUSTEE OF                       19-50735
   THE PAUL F. HAPPERSETT REVOCABLE LIVING TRUST
   AGREEMENT DATED 07/15/98; PAUL F. HAPPERSETT




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   ANTHONY ARTHUR MEOLA JR., IN HIS CAPACITY AS                            19-50741
   TRUSTEE OF THE ANTHONY ARTHUR MEOLA JR. 2008
   TRUST; ANTHONY ARTHUR MEOLA JR.
   MAINSTAR TRUST, CUSTODIAN FOR THE BENEFIT OF                            19-50750
   TIMOTHY HAWLEY; TIMOTHY HAWLEY
   IRMGARD HERRMANN                                                        19-50752
   RENE C. MARSOLAN; JUDY MARSOLAN                                         19-50775
   ASCENSUS, LLC D/B/A PROVIDENT TRUST GROUP,                              19-50831
   CUSTODIAN FOR THE BENEFIT OF SHARON R. FERRY
   IRA; SHARON R. FERRY
   CLAYTON NAKASONE                                                        19-50832
   HART PLACEMENT AGENCY INC.                                              19-50847
   ROBERT ELMER                                                            19-50850
   PETER GREENBERG                                                         19-50855
   KATHY HAGEN, IN HER CAPACITY AS TRUSTEE TO THE                          19-50869
   KATHY A HAGEN DECLARATION OF TRUST DATED
   MARCH 2, 1998; KATHY HAGEN
   FRED RANDHAHN; KAREN RANDHAHN; ASCENSUS, LLC                            19-50908
   D/B/A PROVIDENT TRUST GROUP, CUSTODIAN FOR THE
   BENEFIT OF ANTELOPE WOMEN'S CENTER 401K PSP FOR
   THE BENEFIT OF KAREN RANDHAHN; KRONOS GLOBAL
   ADVISORS, INC.
   MICHAEL KANDRAVI                                                        19-50914
   MAXWELL FINANCIAL GROUP, INC; ROSEMARY                                  19-50915
   MALMSTEDT
   KIM BUTLER                                                              19-50917
   JOSEPH RUBIN INC.; JOSEPH RUBIN                                         19-50918
   MARK GOLDFINGER                                                         19-50920
   DANNY VAN HOUTEN                                                        19-50927
   RETIREMENT SERVICES LLC                                                 19-50931
   JEROME SCHWARTZ; ASSOCIATED INSURANCE GROUP                             19-50938
   INCORPORATED
   ROGER OWENS; JENNIFER M. LEPORE                                         19-50940
   JOHN FAGAN                                                              19-50947
   IVY LEAGUE COLLEGE PLANNING STRATEGIES, INC.;                           19-50951
   MIKE RAPPA
   JAMES LAMONT                                                            19-50952
   GERARD J O'NEILL                                                        19-50964
   DAVID KELEDJIAN                                                         19-50973
   JOSEPH W. ISAAC                                                         19-50976
   RANDY ROBERTSON                                                         19-50977
   MATTHEW LORENC                                                          19-50979
   DONOVAN KNOWLES                                                         19-50980
   GREGORY JANDT                                                           19-50981


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   JAMES A. KLOHN & ASSOC, P.A.                                            19-50989
   JOHN J MCNAMARA                                                         19-50998
   RICKI DEAN WIGGS                                                        19-51003
   DENNIS DRAKE; MID-ATLANTIC BROKERS, INC.                                19-51006
   DAN REISINGER                                                           19-51007
   JOHN HARRIS d/b/a HARRIS FINANCIAL MANAGEMENT;                          19-51011
   JOHN HARRIS
   SEARCHLIGHT FINANCIAL ADVISORS, LLC; CAROLINE                           19-51022
   RAKNESS
   BASIC FINANCIAL SERVICES INC., BASIC WEALTH                             19-51039
   ADVISORS, INC., FRED C. JOHNSON
   TWH ANNUITIES & INSURANCE AGENCY, INC.;                                 19-51042
   GRYPHON FINANCIAL SERVICES
   SYCAMORE GROUP, INC.; BENDER W. MACKEY                                  19-51043
   MATTE BLACK INC.; MATTHEW J. SCHWARTZ                                   19-51077
   PROVIDENT TRUST GROUP, CUSTODIAN FOR THE                                19-51133
   BENEFIT OF GAIL MARIE BUSH IRA; GAIL MARIE BUSH;
   GAIL MARIE BUSH AS TRUSTEE OF THE GAIL MARIE
   BUSH TRUST DATED 12/21/2001
   IRA SERVICES TRUST COMPANY, CUSTODIAN FOR THE                           19-51136
   BENEFIT OF RICHARD DERF SEP IRA IRA; RICHARD DERF
   HARRY R. CULOTTA, IN HIS CAPACITY AS TRUSTEE OF                         19-51138
   THE HARRY R. CULOTTA TRUST DATED 11/16/16, HARRY
   R. CULOTTA
   RUSSELL BULLIS; BETSY BULLIS                                             19-50310
   MICHAEL SKURICH; JOYCE SKURICH                                           19-50315
   PROVIDENT TRUST GROUP, LLC, CUSTODIAN FOR THE                            19-50760
   BENEFIT OF JOHN P. SMITH; JOHN P. SMITH
   MARCELLA BEST                                                            19-50819
   ALTHEA MCCORMICK                                                         19-50823
   KIRK W. CHUBKA                                                           19-50826
   MARY ELLEN NUHN                                                          19-50829
   JOHN J. BEGLEY                                                           19-50830
   PHILLIP BALL a/k/a LARRY BALL                                            19-50913
   GREGG W. BUTLER                                                          19-50958
   HAROLD PLAIN                                                             19-50974
   JOSEPH A. LOOX                                                           19-50978
   DANIEL P. ORFIN                                                          19-51005
   RICHARD ANTHONY MILLER                                                   19-51008
   MICHAEL LITWIN                                                           19-51023
   KENNETH HALBERT                                                          19-51027




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                                 Chapter 11

    WOODBRIDGE GROUP OF COMPANIES,                                         Case No. 17-12560 (BLS)
    LLC, et al.,1
                                                                           (Jointly Administered)
                                   Remaining Debtors.

    MICHAEL GOLDBERG, as Liquidating Trustee of
    the Woodbridge Liquidation Trust, successor in                        Adv. Proc. Case Nos. (SEE EXHIBIT 1)
    interest to the estate of Woodbridge Group of
    Companies, LLC, et al.,

                                        Plaintiff,

    v.

    (SEE EXHIBIT 1 ATTACHED HERETO),

                                        Defendant.

                                             SCHEDULING ORDER

                    To promote the efficient and expeditious disposition of adversary proceedings, the

following schedule shall apply to each of the above-captioned adversary proceedings.

                    IT IS HEREBY ORDERED that:

                   1.        The discovery planning conference described in Fed.R.Civ.P. 26(f), made

applicable by Fed.R.Bankr.P. 7026, shall be deemed to have taken place, provided, however, that

the parties each reserve their rights regarding issues concerning electronic discovery.

                   2.        The above-captioned adversary proceedings are assigned to mediation

pursuant to Local Rule 9019-5.

1
    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
    Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
    Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.

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                3.           No later than thirty (30) days after this Scheduling Order is entered, the

Defendant shall provide the Plaintiff with a list of three (3) proposed mediators.

                4.           No later than forty-five (45) days after this Scheduling Order is entered,

the parties shall file a Stipulation Regarding Appointment of a Mediator setting forth the

mediator selected by the parties and the date the mediation has been set to commence. If the

Parties cannot agree on a mediator, the Plaintiff shall file a statement alerting the Court of such

inability and a request that the Court select and appoint a mediator to the proceeding.

                5.           All formal discovery between the parties, including, but not limited to the

service of initial disclosures under Fed.R.Civ.P. 26(a)(1), shall be tolled until after the filing of

the Mediator’s Certificate of Completion pursuant to Local Rule 9019-5(f)(ii). The form of

stipulation tolling discovery attached hereto as Exhibit A is hereby approved.

                6.           The parties shall provide the initial disclosures under

Fed.R.Civ.P. 26(a)(1) no later than thirty (30) days after the filing of the Certificate of

Completion. Any extension of the deadline to provide initial disclosures may be made by

agreement of the parties or by Order of the Court for good cause shown.

                7.           All fact discovery shall be completed no later than one hundred twenty

(120) days after the filing of the Certificate of Completion.

                8.           Any expert report required pursuant to Federal Rule of Civil Procedure

26(a)(2)(B) shall be served by the party which bears the burden of proof for that issue, not

including any report by Plaintiff on insolvency of the Debtors, no later than one hundred sixty-

five (165) days after the filing of the Certificate of Completion. If the Defendant intends to
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provide expert testimony regarding the insolvency of the Debtors, notice of the Defendant’s

intent to submit any such expert report must be provided no later than one hundred fifty (150)

days after the filing of the Certificate of Completion, and any such expert report must be

provided no later than one hundred eighty (180) days after the filing of the Certificate of

Completion. Any expert rebuttal report by Plaintiff on the insolvency of the Debtors, shall be

provided no later than two hundred ten (210) days after the filing of the Certificate of

Completion. Any Party’s expert report intended to rebut any other expert report, including any

other expert reports that may be filed earlier than the deadlines established in this subparagraph,

shall be provided no later than thirty (30) days after the report being rebutted, provided, however,

that in no event shall the thirty (30) day period start prior to one hundred twenty (120) days after

the filing of the Certificate of Completion. All reports shall provide the information required by

Fed.R.Civ.P. 26(a)(2)(B). All expert discovery shall be completed no later than two hundred

seventy (270) days after the filing of the Certificate of Completion.

                9.           If either party does not agree to toll discovery until after the conclusion of

mediation in accordance with paragraph 5 of this Order, it must notify the other party in writing

within five (5) days of the entry of this Scheduling Order, and, in such instances, the following

subparagraphs (a) through (d) shall apply:

                (a)          The discovery planning conference described in Fed.R.Civ.P. 26(f), made

                             applicable by Fed.R.Bankr.P. 7026, shall be deemed to have taken place,

                             provided, however, that the parties each reserve their rights regarding

                             issues concerning electronic discovery.
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                (b)          The parties shall provide the initial disclosures under Fed.R.Civ.P.

                             26(a)(1) no later than thirty (30) days after the date this Scheduling Order

                             is entered. Any extension of the deadline to provide initial disclosures

                             may be made by agreement of the parties or by Order of the Court for

                             good cause shown.

                (c)          All fact discovery (“Fact Discovery”) shall be completed no later than one

                             hundred twenty (120) days after the date this Scheduling Order is entered.

                (d)          Any expert report required pursuant to Federal Rule of Civil Procedure

                             26(a)(2)(B) shall be served by the Party which bears the burden of proof

                             for that issue, not including any report by Plaintiff on insolvency of the

                             Debtor, no later than one hundred sixty-five (165) days after the date this

                             Scheduling Order is entered. If the Defendant intends to provide expert

                             testimony regarding the insolvency of the Debtors, notice of the

                             Defendant’s intent to submit any such expert report must be provided no

                             later than one hundred fifty (150) days after the date this Scheduling Order

                             is entered, and any such expert report must be provided no later than one

                             hundred eighty (180) days after the date this Scheduling Order is entered.

                             Any expert rebuttal report by Plaintiff on the insolvency of the Debtors

                             shall be provided no later than two hundred ten (210) days after the date

                             this Scheduling Order is entered. Any Party’s expert report intended to

                             rebut any other expert report, including any other expert reports that may
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                             be filed earlier than the deadlines established in this subparagraph, shall be

                             provided no later than thirty (30) days after the report being rebutted,

                             provided, however, that in no event shall the thirty (30) day period start

                             prior to one hundred twenty (120) days after the date this Scheduling

                             Order is entered. All reports shall provide the information required by

                             Fed.R.Civ.P. 26(a)(2)(B). All expert discovery shall be completed, and

                             discovery shall close, no later than two hundred seventy (270) days after

                             the date this Scheduling Order is entered.

                 10.         All motions pursuant to Rule 5011-1 of the Local Rules, including a

motion for withdrawal of the reference or motion for a determination of whether the Court has

authority to enter final orders and judgments, shall be filed and served not sooner than thirty (30)

days after the close of all discovery and not later than 60 days prior to trial, and shall be subject

to the Local Rules.

                 11.         All dispositive motions shall be filed and served by not later than thirty

(30) days after the close of all discovery and shall be subject to Rule 7007-1 of the Local Rules.

                 12.         The parties shall file, no later than three (3) business days prior to the date

set for Trial, their Joint Pretrial Memorandum approved by all counsel and shall

contemporaneously deliver two (2) copies thereof to Judge Shannon’s chambers.

                 13.         As soon as is feasible after the close of all discovery, the Plaintiff shall

contact the Court to schedule a final pretrial conference in accordance with Local Rule

7016-2(a).
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                 14.         The Plaintiff shall immediately notify Chambers upon the settlement,

dismissal or other resolution of any adversary proceeding subject to this Order and shall file with

the Court appropriate evidence of such resolution as soon thereafter as is feasible. The Plaintiff

shall file a status report sixty (60) days after the date of this Scheduling Order, each sixty (60)

days thereafter, and thirty (30), twenty (20), and ten (10) days prior to trial, setting out the status

of each unresolved adversary proceeding subject to this Order. Plaintiff shall immediately advise

Chambers, in writing, of any occurrence or circumstance which Plaintiff believes may suggest or

necessitate the adjournment or other modification of the trial setting.

                 15.         Deadlines contained in this Scheduling Order may be extended by written

agreement of the parties or upon written motion or stipulation for cause shown.

                 16.         The Plaintiff shall serve this Scheduling Order on each of the Defendant’s

in the above-captioned adversary proceedings within five (5) business days after the entry of this

Order.




 Dated: September 3rd, 2020
                                                  BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
 Wilmington, Delaware
                                                  JUDGE




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                                EXHIBIT A TO ORDER




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                                 Chapter 11

WOODBRIDGE GROUP OF COMPANIES,                                         Case No. 17-12560 (BLS)
LLC, et al.,1
                                                                       (Jointly Administered)
                           Remaining Debtors.
MICHAEL GOLDBERG, as Liquidating Trustee of
the Woodbridge Liquidation Trust, successor in                         Adv. Proc No. 19- _________ (BLS)
interest to the estate of Woodbridge Group of
Companies, LLC, et al.,

                                      Plaintiff,

           v.

[DEFENDANT NAME],

                                      Defendant.

                               STIPULATION TO TOLL
                DISCOVERY UNTIL AFTER THE CONCLUSION OF MEDIATION

           Plaintiff Michael Goldberg, (the “Plaintiff”), as Liquidating Trustee of the Woodbridge

Liquidation Trust, successor in interest to the estate of Woodbridge Group of Companies, LLC,

et al., and the above-captioned defendant (the “Defendant” and together with the Plaintiff, the

“Parties”), hereby agree and stipulate that, in according with the scheduling order dated

________________, 2020, discovery shall be tolled until after the filing of a mediator’s

Certificate of Completion pursuant to Local Rule 9019-5(f)(ii).




1
    The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
    Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
    Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.


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Dated: _______________, 2020


 [FIRM]                                          PACHULSKI STANG ZIEHL & JONES LLP



 By:                                             By:
       [Attorney]                                Richard M. Pachulski (CA Bar No. 90073)
       [Address]                                 Andrew W. Caine (CA Bar No. 110345)
       [City, State, Zip]                        Bradford J. Sandler (DE Bar No. 4142)
       Tel: ___________                          Colin R. Robinson (DE Bar No. 5524)
       Fax: __________                           919 North Market Street, 17th Floor
       Email: ___________                        P.O. Box 8705
                                                 Wilmington, DE 19899 (Courier 19801)
       Counsel for Defendant                     Telephone: 302-652-4100
                                                 Fax: 302-652-4400
                                                 Email: rpachulski@pszjlaw.com
                                                        acaine@pszjlaw.com
                                                        bsandler@pszjlaw.com
                                                        crobinson@pszjlaw.com

                                                 Counsel for Plaintiff




                                             2
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                    EXHIBIT B
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